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 4
     Attorney for Defendant
 5   DAVID PEREZ RAMIREZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,               )    2:07-CR-00248-15 WBS
                                             )
11                              Plaintiff,   )
                                             )    UNOPPOSED REQUEST TO EXTEND
12   v.                                      )    DEADLINES AND MODIFY BRIEFING
                                             )    SCHEDULE; [PROPOSED] ORDER
13                                           )
     DAVID PEREZ RAMIREZ,                    )
14                                           )
                             Defendant.      )
15   __________________________________      )

16         Pursuant to Local Rule 144, undersigned counsel, Erin J. Radekin,

17   respectfully requests the briefing schedule relating to defendant’s motion to

18   reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) be modified to reflect the

19   following deadlines:

20         Amended motion to reduce sentence            November 13, 2015

21         Government’s opposition                      November 27, 2015

22         Defendant’s reply, if any                    December 4, 2015

23         The reason for this request is that undersigned counsel needs

24   additional time to obtain and review records relating to the defendant’s

25   post-sentencing conduct and to communicate with Mr. Ramirez, which must be

26   done by writing.   Further, counsel has surgery scheduled on October 16, 2015

27   due to an unexpected medical issue, and expects to be recovering therefrom

28   through October 28, 2015.



                UNOPPOSED REQUEST TO EXTEND DEADLINES AND MODIFY SCHEDULE - 1
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 1            Assistant United States Attorney Jason Hitt has indicated he has no

 2   objection to the proposed extension.

 3   Dated: October 14, 2015                        Respectfully submitted,

 4

 5                                                   /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 6                                                  Attorney for Defendant
                                                    LUCIANO MERCADO
 7

 8                                          ORDER

 9            Pursuant to the unopposed request, and good cause appearing therefor,

10   it is hereby ordered that the briefing schedule relating to defendant’s

11   motion pursuant to § 3582(c)(2) be revised to reflect the following

12   deadlines:

13            Amended motion to reduce sentence           November 13, 2015

14            Government’s opposition                     November 27, 2015

15            Defendant’s reply, if any                   December 4, 2015

16   Dated:     October 15, 2015

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                   UNOPPOSED REQUEST TO EXTEND DEADLINES AND MODIFY SCHEDULE - 2
